Case 6:21-cv-00366-ADA Document 1-36 Filed 04/15/21 Page 1 of 4




               Exhibit 30
          Case 6:21-cv-00366-ADA Document 1-36 Filed 04/15/21 Page 2 of 4
GSM Association                                                                 Non-confidential
Official Document FCM.01 - VoLTE Service Description and Implementation Guidelines




  VoLTE Service Description and Implementation Guidelines
                                                                                                                          Version 1.1
                                                                                                                  26 March 2014

This is a Non-binding Permanent Reference Document of the GSMA

Security Classification: Non-confidential
Access to and distribution of this document is restricted to the persons permitted by the security classification. This document is confidential to the
Association and is subject to copyright protection. This document is to be used only for the purposes for which it has been supplied and
information contained in it must not be disclosed or in any other way made available, in whole or in part, to persons other than those permitted
under the security classification without the prior written approval of the Association.


Copyright Notice
Copyright © 2014 GSM Association

Disclaimer
The GSM Association (“Association”) makes no representation, warranty or undertaking (express or implied) with respect to and does not accept
any responsibility for, and hereby disclaims liability for the accuracy or completeness or timeliness of the information contained in this document.
The information contained in this document may be subject to change without prior notice.

Antitrust Notice
The information contain herein is in full compliance with the GSM Association’s antitrust compliance policy.




V1.1                                                                                                                            Page 1 of 121
                               Case 6:21-cv-00366-ADA Document 1-36 Filed 04/15/21 Page 3 of 4
GSM Association                                                                                                                                                     Non-Confidential
Official Document

                    VoLTE UE                           eNB                                      MME                            SGW                            PGW                 PCRF   HSS     P-CSCF                   I-CSCF             S-CSCF                 TAS

                            RRC Connection Request
                              RRC Connection Setup

                                     Attach Req
                                                           Attach req - Uplink NAS Transport
                         RRC Connection Setup complete
                         [ Dedicated NAS ]             [ NAS PDU ]
                         [ PDN Connectivity Request]   [ EPS SM: PDN Connectivity Request ]

                                                                                  Authentication/Security

                                                                                                                               Update Location Request

                                                                                                                               Update Location Answer

                                                                                                      Create Session Request

                                                                                                        IMS-APN; QCI:5;              Create Session Request
                                                                                                        ARP; APN AMBR                                             IP@; QCI:5; ARP;
                                                                                                                                          IMS-APN; QCI:5;
                                                                                                                                                                    APN AMBR
                                                                                                                                          ARP; APN AMBR
                                                           E-RAB Setup                                                                                                 CCR
                                                           E-RAB Setup Request                                                          Create Session Response         CCA
                                                           QCI:5; ARP;                                 Create Session Response                                       QCI:5; ARP;
                                                           UE AMBR                                                                       IP@; QCI:5; ARP;            APN AMBR;
                                                                                                         IP@; QCI:5; ARP;                  APN AMBR
                     RRC Connection Reconfiguraton        [ NAS PDU ]                                                                                             IP default rule TFT
                                                                                                           APN AMBR
                                                          [ Activate Default Bearer Request ]
                         [ NAS PDU ]
                         [ EPS SM: Activate Default       [IMS-APN; IP@; ]
                         Bearer Request ]                 [ QCI:5; APN AMBR]
                         RRC Connection
                         Reconfiguration Complete
                                                                E-RAB Setup
                          Uplink Direct Transfer                E-RAB Setup Response
                          [ NAS PDU ]
                          [ EPS SM: Activate Default Bearer Accept ]
                                                          Attach complete - Uplink NAS Transport
                                                           [ NAS PDU ]                                 Modify Bearer Request
                                                           [ Activate Default Bearer Accept ]

                                                                                                       Modify Bearer Response


                                                                     Default Bearer Established for IMS Signalling                                                                             IMS Signalling over IP

                                                                                                                      SIP Register                                                                         SIP Register

                                                                                                                                                                                                     UAR
                                                                                                                                                                                                     UAA

                                                                                                                                                                                                                                  SIP Register

                                                                                                                                                                                                              MAR
                                                                                                                                                                                                              MAA
                                                                                                                     401 Unauthorised                                                                    401 Unauthorised       401 Unauthorised
                                                                                                                      SIP Register                                                                         SIP Register
                                                                                                                                                                                                     UAR
                                                                                                                                                                                                     UAA
                                                                                                                                                                                                                                  SIP Register
                                                                                                                                                                                                              SAR
                                                                                                                                                                                                              SAA
                                                                                                                         200 OK                                                                                200 OK              200 OK
                                                                                                                                                                                         AAR
                                                                                                                                                                                         AAA                                                         SIP Register
                                                                                                                                                                                                                          UDR
                                                                                                                                                                                                                          UDA
                                                                                                                                                                                                                                                       200 OK
                                                                                                                                                                                                                    SIP Subscribe
                                                                                                                                                                                                                 200 OK (Subscribe)
                                                                                                                     SIP Subscribe                                                                                 SIP Subscribe
                                                                                                                 200 OK (Subscribe)                                                                              200 OK (Subscribe)
                                                                                                                                                                                                                                                    SIP Subscribe
                                                                                                                                                                                                                      SIP Notify
                                                                                                                                                                                                                     200 OK (Notify)               200 OK (Subscribe)
                                                                                                                       SIP Notify                                                                                       SIP Notify                    SIP Notify
                                                                                                                      200 OK (Notify)                                                                               200 OK (Notify)                  200 OK (Notify)




                                Figure 3: VoLTE UE Attachment and IMS Registration message sequence

V1.0                                                                                                                                                                                                                                                                      Page 27 of 121
       Case 6:21-cv-00366-ADA Document 1-36 Filed 04/15/21 Page 4 of 4
GSM Association                                                               Non-Confidential
Official Document


The I-CSCF uses the User Authorization Request message to retrieve the S-CSCF name
stored within the HSS, and forwards the request to the relevant S-CSCF.
The S-CSCF checks whether the RES received in the SIP REGISTER and the XRES
previously stored match. The S-CSCF then performs the Server Assignment Request
procedure to the HSS to download the relevant user profile and register the VoLTE UE.
The S-CSCF stores the route header of the P-CSCF and binds this to the contact address
of the VoLTE UE, this is used for routing to the VoLTE UE in future messages. Parameters
of the P-Charging-Vector header are stored, and the S-CSCF sends a 200 OK response to
the I-CSCF, including the user's display name (retrieved from the user profile in the HSS)
within the P-Associated-URI, which forwards the message to the P-CSCF.
On receipt of the 200 OK from the I-CSCF, the P-CSCF changes the temporary set of
security associations to a newly established set of security associations. It protects the 200
OK with these associations and sends the 200 OK to the VoLTE UE. All future messages
sent to the UE will be protected using the security associations.
Optionally, the P-CSCF sends an AAR message to the PCRF to perform application binding
to the default bearer (i.e. the P-CSCF is requesting to be informed in the event of the default
bearer being lost/disconnected in order to trigger an IMS de-registration). The PCRF
performs the binding and responds with a AAA message to the P-CSCF. Note that if this
message is not sent, then IMS relies on other mechanisms to detect loss of the underlying
default bearer, i.e., loss of connectivity (e.g. timeouts on trying to signal to the UE for an
incoming call or the UE registers in the IMS with a new IP address).
On receipt of the 200 OK, the UE changes the temporary security association to a newly
established set of security associations that will be used for further messages to the P-
CSCF.
The VoLTE UE is now registered with the IMS network for VoLTE services, with SIP
signalling being transported over the default EPC bearer.
The S-CSCF sends a third party SIP REGISTER to the VoLTE AS, as configured in the
initial filter criteria (iFC) within the subscriber profile. The TAS may use the User Data
Request procedure to read VoLTE data stored in the HSS.
The VoLTE UE, P-CSCF and TAS shall subscriber to the registration event package using
the SIP SUBSCRIBE message, in order to be notified on any change of registration state for
the public user identity. In turn, the S-CSCF shall send a SIP NOTIFY to the subscribing
entities informing them of the active registration status.




V1.0
